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Timeline of Events

Overview

The following timeline provides everything I personally know about Professor Amy Chua's
dinner parties. I’ve tried to be as inclusive as possible. Wherever I have documentation (mostly
screenshots or photos of Signal messages), I’ve noted it in the timeline and attached the photos in

an appendix.

At first, John Doe and Jane Doe repeatedly lied about the dinners. John Doe especially played
coy when denying that he went. In person, however, John Doe confirmed he went to the dinners
and that Chua told him to keep them secret. If these were truly innocent gatherings, the students
went to great lengths to cover them up, even refusing to confirm their existence in writing. Even
when they did acknowledge them, it was only on self-deleting messages over Signal. Only after
news of the dinners leaked did John Doe and Jane Doe both admit to me that they attended,
showing that the initial denials were false. As you read through this document, keep in mind that
early denials are later disproven. Rather than exonerate Chua, the denials show the illicit and
secret nature of these dinners.

Finally, the texts show the enormous power that Chua has over students. Jane Doe and John Doe
both secretly admitted to me that they felt Chua lied. John Doe felt “fearful” about what Chua
would do if she found out that he went to the administration to report her lies. Jane Doe felt
“groomed.” However, despite this discomfort, neither student seems to have acted on this,
presumably due to the immense power that Chua holds over their careers.

February

Feb. 3:

John Doe texts me (Document I) explaining that Chua thinks he would make a good clerk to
Judge Watford on the Ninth Circuit and that she “has picked several judges” for him.

Feb. 18:

I go over to John Doe’s to do my laundry. While at his apartment, I hear him call Jane Doe, who
explains to him that Chua has just invited them over for dinner tomorrow. They discuss what to
wear and what they should bring (ultimately deciding to bring a bottle of wine). John Doe
implores me not to tell anybody so that Chua doesn’t get in trouble.

Feb 19:

At 1:45 PM, I text two friends, “Also apparently he and Jane Doe are going to a dinner at Chua
and Rubenfeld’s tonight... which they are also banned by toe [sic] law school from doing”.
(Document 2).

My frend responds “That's weirdo _O”

I say “Weird is a nice way to put it!”
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My frend: “So they are still ok with nepotism and complicity as long as it benefits them?
Me: “Yup!”
At 1:47, I text my friend (the same one as above, but not in a group chat) (Document 3):
“T am actually really annoyed that John Doe and Jane Doe are going to Chua's.”
“Tm not going to do anything”
“But like”

“T think it’s deliberately enabling the secret atmosphere of favoritism, misogyny, and
sexual harassment that severely undermines the bravery of the victims of sexual abuse
that came forward against Rubenfeld.”

My friend: “Indeed it is really troubling.”

At 9:15, John Doe texts me (Document 4) that he’s drunk. I ask him if he’s at Chua's and he
coyly denies it by joking that he is standing outside in the snow, indicating that he is not /iterally
at Chua’s.

When he gets back to his apartment, he calls me and sounds extremely intoxicated. I ask him if
he got drunk at Chua's and he says, “Yes but I don’t know what you're talking about.” He
emphasizes repeatedly that I can’t tell anyone that he went to these parties and that Chua would
get in trouble if people found out.

Feb 21:

I grab coffee with a 1L. While we're chatting about our schedules, he mentions that he’s taking
International Business Transactions with Chua. He says that he'll “be canceled” for saying this
but tells me that Chua has been hosting secret dinners with judges and he has been invited to one.
He says that Chua likes him and has told him to take her class next semester and has told him
which professors to take in order to get a good clerkship.

At 5:18 PM, I text John Doe that ve heard from someone else that judges are at the dinners.
March

March 13:

John Doe texts me again at 9:18 PM (Document 5) that he’s outside, indicating he has once
again gone to Chua’s but won't commit to saying so in writing.

March 20:

I hang out with one of my close friends and we talk about the fact that Chua was chosen to lead a
small group next semester. I tell him about the dinners and ask if he’s heard about them. Because
I had heard about the dinners from two different people, I had assumed these dinners were
widely known about, but like many of the rumors about Chua and Rubenfeld, people just didn’t
bother reporting them. However, he tells me that he hadn't heard of it and neither had his
roommate (who's also a law student). He recommends that I should tell someone on the Title IX
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group or in Yale Law Women who can report it to the administration. That night, I hang out with
my friend over Zoom and, coincidentally, we watch J May Destroy You, an HBO show about a
woman who is raped and the ramifications that has on her life. This leads to a discussion about
Chua's misconduct, so we talk about why Chua might be willing to break the rules even more if
given a small group and how this is the same house where Rubenfeld is alleged to have engaged
in sexual misconduct. We ultimately decide that even though John Doe made me promise several
times not to tell anyone, I should go forward.

March 22:

I text my friend and I call and I explain what I know. She says that she will bring up the dinners
to Dean of Students Affairs, Ellen Cosgrove.

March 23:

My friend and I meet with a reporter from YDN on background to explain what I know. Later,
my friend sends over the screenshots that show I knew John Doe and Jane Doe went to dinners
with Chua.

March 26:

I send in an affidavit to Cosgrove explaining everything that I know. My fiend also shares my
texts with John Doe and with my fnend with Dean Cosgrove.

March 28:

John Doe sends me a Signal around 3 PM asking me to have a quick call. I assume that,
somehow, it had leaked that I went forward, and so I record the call in case I'm either
blackmailed or threatened with retaliation. On the call, John Doe asks if I've told anyone about
his dinners with Chua. I deny it and say that I did not tell anybody but think it is a widely known
rumor, as shown by the fact I already heard about it from someone else. He seems to believe me
and thanks me, and asks if the other person (whose identity was unknown to him and Jane Doe)
would have any reason to have a vendetta against Chua. I say no.

Shortly afterwards, Jane Doe sends me a Signal. saying she needs “to know pointedly who this
other person is.” (Document 6) I interpret this as them asking me to divulge the identity of
whoever went forward to the administration, so that they may tell Chua. I wait a while and then
explain that I don’t want to disclose the identity of the person, who asked me to keep it
confidential. She says “obviously you know about us” going to the parties.

My friend sends the recording from John Doe, which confirmed he attended the dinner, and the
Signal from Jane Doe admitting I knew about her going, to Dean Cosgrove.

After getting emailed, Chua forwarded the email to Jane Doe and John Doe saying something
like “this is the first 'm hearing about this?!” (This language is my recollection from John Doe
showing me the email in person later.)
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April

April 1:

I go over to John Doe’s to hang out and do laundry. We talk about what happened with Chua (I
had mostly been avoiding it because I was afraid I would slip and out myself as a source). He

explains that Chua recerved the email from YDN and forwarded it to them. John Doe says that he
thinks a 3L is the source of the leak.

John Doe also thinks that YDN didn't publish their story because the source got cold feet and
that it won't get published. I also asked John Doe pointedly whether Rubenfeld was at the
parties. He said that Rubenfeld was not at the dinners but was kept in a separate room and not
allowed to see the students. He explains that, at these dinners, Chua told him that he should go to
the Fifth Circuit, and there are actually some feeder judges there. He also says that Chua told
them about a recent call with Justice Sotomayor (whom Chua calls “Sonia”), where Chua
strongly advocated on someone's behalf to Sotomayor. He says that if he gets the clerkship,
Chua would push for him after to “Sonia.” He also notes that Chua had asked them at these
parties to serve as her Cokers, putting them in an awkward situation because they were also
asked to Coker for another professor. He says that since Chua has been removed as a small group
professor, he now no longer has to choose.

Later, John Doe mentions that Chua is still planning on hosting dinners as long as the situation
cools down. He invites me to the next dinner, explaining that because I am Latino, come from
public school, and am on full financial aid, I'm exactly the type of student that Chua would like
to mentor. He says that Jane Doe is bringing her boyfriend to the next dinner, and I should go as
his friend since it would be awkward if Jane Doe brought someone and he didn’t. I decline the
invite. That night, I call my friend to update them with the news, and she relays the highlights of
my conversation to Dean Cosgrove.

Apmil 7:
Around 9 PM, John Doe sends me a Signal, asking me to reconfirm that I never told anyone
about federal judges attending the dinners. I deny doing so. (Document 7). He says that there are

“allegations being made against [him]” but it’s not clear from whom. He deletes some of the
messages before I can take a photo.

Around 10 PM, YDN muns their story after a lot of back and forth about the language used and
whether they should reach out to John Doe and Jane Doe for comment. (My friend and I were
afraid specific language would out me as the source, as would reaching out to John Doe or Jane
Doe specifically. Ultimately, we agreed on the language used in the final story, and they didn’t
reach out to any dinner attendees for comment).

April 8:
Chua posts her “Dear colleagues” letter, denying that she had hosted any parties, violated her
agreement with the Dean, or had done anything besides comfort students in times of crisis.
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John Doe sends me the letter. I wait a while to collect myself, and then respond. (Document 8).
This exchange is long, so it might be easier to read in full. I explain that ’'m uncomfortable with
the letter and know that he did not go there because of racial consolation, and that he drank
heavily at the dinners. I tell him the dinners can’t possibly have been about racial consolation
when he had invited me to the next one (he says that was a joke, but nothing in his original invite
remotely indicated he was joking).

John Doe calls the letter a political tool. I implore him to come forward to the admin, which he
resists. I explain that I am a survivor of sexual assault and am uncomfortable with her lying. He
admits that she is lying and apologizes for making me uncomfortable with an invite. I say that I
don't mind the invite, but I do mind Chua’s lying and mischaracterization. He stops responding
for a while. I go over the Signals to two friends with me at the time.

John Doe sends me a Signal after 30 or so minutes, explaining that he isn't ignoring me, but is
busy at the law journal’s anti-racism training.

At 8 PM, once the training is over, he sends me more Signals (Document 9). He explains that he
is sorry and will “start a convo with the school admin.” He says that “you have no idea how
ternfied I am.._terrified is too strong... fearful I guess..-still strong, but whatever, of what she’s
gonna do if she finds out.”

I thank John Doe for coming forward and explain that I think he is very brave for doing so.
At 8:25, Jane Doe sends me a Signal (Document 10).

“T wish I had known she was being punished instead of being told she was
absolved/cleared after the investigation?

“the more that stuff happens the more that 1 see how much she lied to me/us”

“this chua shit is wild and is high key scaring me/ making me feel so uncomfortable and
groomed”

I respond with my apologies for the situation that she’s in, and she expresses frustration for not
being told that she might have been in danger for going over to Chua's house.

April 10:
I send John Doe a Signal asking how he’s doing. I explain that is extraordinarily brave for going
forward to the admin, and he says, “I don’t think it’s brave, but thanks for saying so.”

Around 10PM, Jane Doe sends me a Signal asking if I have heard the rumor that she attended the
party or that she sent in a letter of support. She says, “I never sent in a letter of support (quite the
opposite actually)”.

April 15-21:

I ask some friends at YLS what they ve heard and whether they know who attended these
dinners. People seem to suspect Jane Doe and John Doe. I ask some others close to them who tell
me that neither of them knew these dinners were wrong, that they did not drink, that Rubenfeld
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wasn't there, and that they don’t understand why Chua was being cniticized. This directly
contradicts their private messages to me where they said that Chua had lied and that they felt
uncomfortable, and also indicates that they have not, in fact, gone forward to the administration,
likely because it would remove a professor who would otherwise serve as their clerkship
recommender.

I reach out to a reporter at the Chronicle of Higher Education and encourage him to reach out to
the students who I know attended the parties.
April 22:

The Chronicle publishes an article saying that Chua cannot remember if any of the students
drank. The students deny drinking at the parties, and none of them say that anything
inappropriate occurred, in direct contradiction to what they told me repeatedly.
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Documents and Recording

Document I

John Doe

| will be happy when you inevitably
clerk on the ninth circuit!

 

She's picked several judges for me

Wow look at you

 

| think she may be fucking with me
But idk

 

Hmm it’s too soon to tell
She collects everyone

Jar we aren't doing any readings for
arimin rinht

a © ©
*o@oeroc
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Document 2

3427

Also apparently he and a
going to a dinner at Chua and
Rubenfeld's tonight..which they are
Fh teker leek e sR ms es Bice re
doing

 

That's weird o_O

Weird is a nice way to put it!

 

So they are still ok with nepotism
t and complicity as long as it benefits

them?

Yun |
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*Oo@oesz oc
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Document 3

3:43 9 « ee

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Oh it’s a tittle complicated

But basically everyone scored the
exact same on the diversity
statement

So Madison is saying that if
everyone scored the same then
there's no real value on diversity

 

Ahh | see
That is gud

lam actually really annoyed that
and are going to Chua's

Indeed it is really troubling
ao ©

© Oo@o0e706¢

 

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10

Document 4

4:00 7 « ees

Jared guess what

 

im drunk

  

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Document 5

3467 ar.

John Doe

Jared guess what

Image of John Doe

 

im outside

g

You went to another Chua soirée

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Document 6

You don’t have to tell me names

ore

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i just want to knows |F it's pregpest
covid haha

You don’t have to tell me names
®

ts it @ 2k. or 3?
ar ®

i just want to know ff it’s pre/post
covid haha

‘Biala. they're a 3l ee yean they d ie
ne to keep it between us and | just realy

don’t want their identity to leak &

reason | told jan Doel Was told is because

obvs he already knew)
©

 
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Document 7

John Doe

Between us

There are allegations being made
against me

idk how formal or how high up they are

fus message was Celeted

Like allegations from students or adr
i)

Unctear

 

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14

Document 8

John Doe

 
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eR Tees es

 
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16

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anonyumousty

ams

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in O

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acting on your moral obligations
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new me doesn't care

not that I'm asking you to divulge

Now ©

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enenced in any

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17

John Doe

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imean (Cant speak to how you feet and |
think you're clearly justified to think that
her tying is wrong and pernicious, and to

(Mdge me for not taking a stand
New ©)

but that was a joke mite

Now ©)

to be clear

 
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18

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Document 9

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John Doe

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ohn Doe

but you're right about the narrative and truthfulness
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Document 10

lane Doe

| wish i had known she was being punished instead of
being told she was absoived/cieared after the
investigation?

2) SIGNAL

the more that stuff happens the more that i see how

much she lied to me/us

this chua shit is wild and is high key scaring me/
making me feel so uncomfortable and groomed

 
